                      Case 2:21-mc-02140-DM
AO 106 (Rev. 06/09) Application for a Search Warrant             Document 1 Filed 11/18/21 Page 1 of 33


                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                         Eastern District
                                                      __________  Districtofof
                                                                             Louisiana
                                                                               __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )           Case No. 21-mc-2140
      1) ONE BLACK AND GREEN NVIDIA DESKTOP                                  )
 COMPUTER, TAG NUMBER RC942KKN1111101194 AND                                 )
  (2) ONE SAMSUNG GALAXY S8+, CELLULAR PHONE,                                )
            IMEI NUMBER 357725083613316
                                           APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
   See Attachment A.

located in the               Eastern              District of                    Louisiana             , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               u contraband, fruits of crime, or other items illegally possessed;
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                                Offense Description
        18 U.S.C. § 245                            Interference with Federally Protected Activities
        18 U.S.C. § 875(c)                         Threatening Interstate Communications
        18 U.S.C. § 1343                           Wire Fraud


          The application is based on these facts:
        See Attached Affidavit

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                       ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                                      /s/ James F. McKee
                                                                                                      Applicant’s signature

                                                                                             James F. McKee, Special Agent, F.B.I.
                                                                                                      Printed name and title

Sworn to before me and signed in my presence.

Date:            11/18/21
                                                                                                        Judge’s signature

City and state: New Orleans, Louisiana                                               Honorable Michael B. North, U.S. Magistrate Judge
                                                                                                      Printed name and title
         Print                      Save As...                            Attach                                                   Reset
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA

IN THE MATTER OF THE SEARCH OF:
   (1) ONE BLACK AND GREEN NVIDIA
       DESKTOP COMPUTER, TAG
       NUMBER RC942KKN11111201194
       AND
   (2) ONE SAMSUNG GALAXY S8+,
       CELLULAR PHONE, IMEI NUMBER Case No. 21-mc-2140
       357725083613316,
CURRENTLY LOCATED AT THE
FEDERAL BUREAU OF INVESTIGATION,
2901 LEON C. SIMON DR., NEW
ORLEANS, LOUISIANA



                            AFFIDAVIT IN SUPPORT OF AN
                          APPLICATION UNDER RULE 41 FOR A
                           WARRANT TO SEARCH AND SEIZE


       I, James F. McKee, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a search warrant authorizing the examination of property—

electronic devices—which are currently in law enforcement possession, and the extraction from

that property of electronically stored information described in Attachment B.

       2.      I am a Special Agent with the Federal Bureau of Investigation, and have been

since December 2, 2020. I am assigned to the Cyber Squad located in the New Orleans Field

Division. I am tasked with investigating various types of federal cybercrime including, but not

limited to, computer intrusions, internet fraud, and national security matters.

       3.      The information in this affidavit is based on my personal knowledge, voluntary

interviews with witnesses, information provided by other law enforcement officers, individuals,
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and the reports and memoranda of other law enforcement officers. The information in this

affidavit is provided for the limited purpose of establishing probable cause in connection with an

application for a search warrant. The information is not a complete statement of all the facts

relating to this investigation.

        4.      This is an investigation into possible violations of federal law, including 18

U.S.C. § 245 (Interference with Federally Protected Activities); 18 U.S.C.§ 875(c) (Making

Interstate Communications with a Threat to Injure), and 18 U.S.C. § 1343 (wire fraud); arising

from threats of violence made against teachers and students of Laureate Academy Charter

School (LACS) during an online class held via a video conferencing platform called Zoom, as

well as the theft of Best Buy rewards points to illegally obtain a computer.

        5.      As described in more detail below, based on the federal investigation thus far, I

believe that the subject of the investigation, Brian Adams (“Adams”) using aliases including the

Zoom user name “alex jones” and YouTube display name of “Arch angel gaming,” gained

unauthorized access into an online school fifth-grade class and used racial epithets and threats of

violence to intimidate the students and teachers participating in the class, resulting in LACS

shutting down online classes for over two days.

        6.      Additionally, as described in more detail below, I believe that Adams obtained

access information for another person, M.V.’s email account, and accessed that account without

M.V.’s permission. Furthermore, I believe that Adams discovered M.V.’s Best Buy rewards

points account, and utilized that rewards account to purchase computer components.

        7.      This affidavit is intended to show only that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.



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                  IDENTIFICATION OF THE DEVICE TO BE EXAMINED

        8.       The property to be searched is:

              a. One NVIDIA desktop computer, tag number RC942KKN11111201194 (the

                 “Target Computer”); and

              b. One Samsung Galaxy S8+ cellular phone, IMEI number 357725083613316 (the

              “Target Cellphone”).

I refer to the Target Computer and the Target Cellphone collectively as the “Devices.” The

Devices are currently located at the Federal Bureau of Investigation, 2901 Leon C. Simon Dr.,

New Orleans, Louisiana.

        9.       The applied-for warrant would authorize the forensic examination of the Devices

for the purpose of identifying electronically stored data particularly described in Attachment B.

                                     RELEVANT STATUTES

        10.      Title 18, United States Code, Section 245(b)(2), Federally Protected Activities,

provides in pertinent part that it is unlawful for any person “by force or threat of force [to]

willfully . . . intimidate[] or interfere[] with, or [to] attempt[] to . . . intimidate or interfere with”

another person “because of his race, color, religion or national origin” and because he is or has

been participating in one or more enumerated protected activities (here, students attending,

benefitting from, and participating in classes at LACS and teachers being employed by LACS).

An essential element of a Section 245(b)(2) violation is that the defendant was motivated to

commit the crime because of one of the enumerated protected characteristics (i.e., race, color,

religion, or national origin).




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       11.     Title 18, United States Code, Section 875(c) provides in relevant part that it is

unlawful for any person to “transmit[] in interstate or foreign commerce any communication

containing . . . any threat to injure the person of another.”

                                       PROBABLE CAUSE

   I. Background

       12.     The FBI is investigating an incident that took place on or about October 14, 2020,

involving possible violations of 18 U.S.C. § 245 (Federally Protected Activities) and 18 U.S.C. §

875(c) (Interstate Communications), among other statutes, in which an unknown subject used

racial slurs and threats of violence against teachers and fifth-grade students of LACS during an

online Zoom class.

             a. Zoom

       13.     Zoom is a U.S.-based communications technology company that provides

videoconferencing and online chat services through a cloud-based peer-to-peer software

platform. A user is not required to create an account with Zoom in order to participate in a

particular videoconference meeting. However, if a user signs up for a free or paid Zoom

account, the user must supply his email address. After a user supplies his email address, he will

typically receive a confirmation email from Zoom containing a link the user must click to

activate the Zoom account.

       14.     Each Zoom meeting has a host who is responsible for administering the meeting

via the platform’s controls. Zoom users can invite others to an online meeting “room,” which is

an online location where each user can see and interact with the other users. Each meeting room

is associated with a Zoom meeting ID number.              Zoom hosts have the ability to require

participants to wait in a “waiting room” before they are admitted to the meeting room and may

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refuse to admit participants in the waiting room. Hosts can also eject participants from the

meeting, mute participants, and prevent or allow participants to share their computer screens

with the rest of the participants. Zoom hosts also have the ability to transfer hosting duties to

other users.

        15.       To log in to a particular Zoom videoconference, a participant (whether registered

with Zoom or not) enters a unique 9-, 10-, or 11-digit Meeting ID number, or accesses the room

directly from a link provided by the meeting host. The participant must also enter a username

that he or she wants to use for that meeting. The participant’s username for a specific meeting

does not have to be the same as the participant’s account username or email address. During a

meeting, participants can show a live video of themselves to others through the webcam feature,

but participants are not required to use the webcam feature in order to participate in the meeting.

        16.       The term “Zoombombing,” also known as “Zoom Bust” or “Zoomraiding,” refers

to an individual, often using an alias, attending a Zoom meeting uninvited and distracting the

meeting with offensive or disturbing audio and/or video content.

               b. Laureate Academy Charter School (LACS)

        17.       LACS is a publicly-funded K-8 charter school, located in Harvey, Louisiana. On

the date of the incident, the school was following quarantine protocols as a result of the ongoing

COVID-19 pandemic and holding virtual online classes on Zoom for most of its students.

        18.       According to A.T., an LACS administrator, LACS students have access to a

Google classroom dashboard, and students receive links to their respective virtual Zoom

classrooms through their LACS Google email, Google calendars, and Google classroom

accounts. A.T. stated that students typically access the virtual classroom via the Zoom link for

that class.

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   II. Zoombombing Incidents Involving Adams

       19.     On the morning of October 14, 2020, T.F., one of the teachers at LACS, and an

assistant teacher, R.M., began to teach a fifth-grade class with a majority of African-American

students. T.F. informed the FBI that she noticed several individuals with suspicious usernames

(such as “Bryan Adams” and “Nick Gur,” the latter of which sounds like a racial slur) attempting

to enter the classroom, but she was able to remove those individuals from the class. At

approximately 10 a.m., T.F. heard a male’s voice say words to the effect of “Look at you fucking

niggers,” and saw that the speaker was using the Zoom username of “alex jones.” T.F. ejected

“alex jones” from the classroom and sent the students a Zoom link to a new virtual classroom.

The students were required to leave the old virtual classroom and enter the new classroom.

       20.     About thirty minutes later, “alex jones” entered the new virtual classroom and, as

described in greater detail below, used racial epithets and threats of violence against the teachers

and students of the class. Given the proximity in time, the fact that the same class was targeted,

and the fact that the Zoombomber in both incidents used the same username, I believe that the

same individual disrupted the classroom on both occasions on October 14, 2020. Based on my

understanding from LACS that Zoom classroom meeting information is not publicly available,

“alex jones” must have received the new Zoom link shortly after it had been sent to the students’

Google accounts. As described in more detail below, I believe that the person utilizing the

username “alex jones” was Adams.

       21.     On or about October 15, 2020, two LACS students notified LACS teachers and

administrators of the existence of a YouTube video titled “zoom busted” that documented the

Zoombombing incident that had occurred the day before. The video had been uploaded to the



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YouTube       Channel      “Arch      angel      gaming”      located     at     the     website:

https://www.youtube.com/channel/UCehsYic7Etph5W5NcaE7XQw.

       22.     Between October 14 and October 21, 2020, the video could be found at the

website: https://www.youtube.com/watch?v=4fvZz9T2Iww.           The video was taken down by

Google on or about October 21, 2020, for violating YouTube’s policy concerning hate speech.

       23.     Based on my review of the recording, I believe that the individual who created the

video participated in the Zoom class on a computer and used software to record his computer

screen. The recording lasts approximately 2 minutes, 21 seconds, and includes video and audio.

Based on the facts outlined below, I believe that the user who created the video is the same

person who entered the LACS virtual class using the name “alex jones,” specifically, Adams.

The following describes what happens in the video:

       24.     At the start of the recording, Adams’s computer screen is filled by a web browser

showing the Zoom online class of one of the fifth-grade classes of LACS. In the video, the

Zoom class is in “gallery” view, which allows twenty-five participants to be viewed on the

screen at the same time. At least two adults (T.F. and R.M.) and twenty-two students from

LACS, as well as one unknown meeting participant identified as “alex jones,” are participating in

the meeting session.

       25.     Most of the students have their video cameras on, and their faces are visible. One

of the teachers and more than half of the visible students in the virtual classroom are Black.

Adams has not turned on his camera, so his image cannot be seen in the Zoom meeting. Instead,

Adams is represented by a black box with the letter “a” in large print and “alex jones” in smaller

print. Whenever Adams speaks, his Zoom window becomes highlighted.



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       26.     When the video begins, the class is in session, and one of the teachers is speaking

to the students. Adams disrupts the class by using racial epithets, profanity, and threats of force

and violence. He first yells, “You all are a bunch of dirty niggers” and “I am gonna hang you by

the tree you dirty nigger.” He continues making threats, saying, “I am gonna hang you by the

tree dirty nigger, I am gonna hang you by the tree.” Students and teachers visibly react to

Adams. Multiple students cover their eyes or ears. At least one student appears to start crying.

The assistant teacher, R.M., tells the class that she has muted the participants in the Zoom

classroom; Adams’s screen indicates that he has been muted.

       27.     After R.M. mutes the participants in the virtual classroom, Adams switches to a

different browser on his computer and begins to search for the term “swastika” in the web

browser:




       28.     Adams then searches the Google search engine for swastika images. A small

black and white icon associated with his Google account profile depicts a white male.



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       29.    Based on my training and experience, the presence of the profile picture in the

Google browser of Adams’s screen indicates that Adams was logged into his Google account as

he searched for swastika images and as he threatened the LACS class with racial violence.

       30.    When the results of the search appear, Adams selects one of the swastika images

and then selects a suggested “related image” of a different swastika. Based on my training and

experience and my review of the video, I believe that Adams then right clicks his mouse on the

image, producing a drop-down menu, and selects “Search Google for image.”




       31.    Images of Nazi flags with swastikas appear on the screen, and Adams appears to

conduct an additional search on Google for Nazi flags.

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       32.      While the YouTube video shows Adams searching for images of swastikas and

Nazi flags, the audio from the LACS Zoom class can still be heard. A female, who sounds like

an adult, states that she is “extremely uncomfortable.”

       33.      Adams immediately pulls up the web browser with the Zoom meeting and uses

his cursor to unmute his microphone in the Zoom meeting. As soon as Adams unmutes his

microphone, a male voice states “Who cares if you are uncomfortable, nigger” and the Zoom

window for “alex jones” becomes highlighted. This sequence of events indicates that Adams,

the computer user who made the recording and searched for swastika and Nazi flag images, is

the same person as the Zoom user identified as “alex jones.”

       34.      After Adams uses more profanity, one of the Zoom meeting hosts removes

Adams from the meeting, and Adams stops the recording.

       35.      Because of this Zoombombing incident, as well as other attempts by one or more

uninvited individuals using suspicious names/aliases to enter other Zoom meetings hosted by

LACS on October 14 and 15, 2020, LACS cancelled the remainder of the online classes on each

of those days, as well as all classes on October 16, 2020.

       36.      Based on the records produced by Zoom, I believe that Adams entered an LACS

online Zoom class hosted by T.F. (the same teacher who hosted the October 14, 2020, class) on

October 20, 2020, using the same alias of “alex jones,” and that he was ejected from the class.

   III. Identifying “alex jones” as Brian Adams

             a. Email account associated with “imajew41@gmail.com”

       37.      On or about January 26, 2021, the FBI received subpoena returns from Zoom,

Inc., for records related to the account “business@laureatecharter.org,” which is the Zoom

account used by LACS for online classes and meetings. The returns included data associated

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with the October 14, 2020, incident during which “alex jones” threatened the students and

teachers of LACS with racial violence.

       38.      The Zoom records indicate that the individual associated with the username “alex

jones” provided Zoom with “imajew41@gmail.com” as his email address.

       39.      Based on my training and experience, and these Zoom records, I believe that

“alex jones” set up a Zoom account using “imajew41@gmail.com” as his email address; that

Zoom likely sent him an email with a link to confirm that this Gmail account was his; and that he

likely confirmed, by clicking on the link, that the email account “imajew41@gmail.com” was his

account.

             b. “Arch angel gaming YouTube Channel”

       40.      Based on the investigation to date, I believe that the account holder for “Arch

angel gaming” YouTube Channel is responsible for, or an associate of the person responsible for,

threatening the LACS classroom on October 14, 2020.

       41.      On or about October 16, 2020, the YouTube channel for “Arch angel gaming”

contained the following profile picture:




       42.      This “Arch angel gaming” profile picture appears to be the same as the Google

profile picture in the YouTube video of the Zoombombing incident discussed above, that

appeared when Adams searched Google for swastika images.            Based on my training and

experience, I know that each Google account includes access to YouTube, and a user must have

an existing Google account in order to sign into YouTube. Because the profile pictures appear

identical, I believe that the individual who used the username “alex jones” during the

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Zoombombing incident (and who used “imajew41@gmail.com” as his Zoom account email

address) and the YouTube account holder of “Arch angel gaming” are likely the same individual.

        43.      In addition, the Zoombombing video was uploaded onto the YouTube Channel

“Arch angel gaming” less than 24 hours after the October 14 incident occurred. That “Arch

angel gaming” had access to and uploaded the video so quickly after Adams made the video may

indicate that the YouTube account holder was personally involved in the production of the video.

              c. Email account associated with “www.farcry3@gmail.com”

        44.      On or about February 12, 2021, a search warrant for Google was signed by U.S.

Magistrate Judge Michael B. North of the Eastern District of Louisiana for the Google accounts

associated with imajew41@gmail.com and the “Arch angel gaming” YouTube Channel. A

response from Google was received on or around March 18, 2021, and additional information

was received on April 14, 2021. Based on the records received, investigators learned that

www.farcry3@gmail.com was the Google account used to register for the “Arch angel gaming”

YouTube Channel.

        45.      Google’s response to the search warrant also provided several connections

between imajew41@gmail.com and www.farcry3@gmail.com that further suggested both

accounts were controlled by the same individual at the time of the LACS Zoombombing incident

in October 2020.

              a. Imajew41@gmail.com and www.farcry3@gmail.com were accounts linked by

                 cookies. 1 This indicates that both accounts were accessed from the same web

                 browser and likely controlled by the same user.



1
 Cookies are textual information generated by webservers to save settings and facilitate web browsing. When a
user logs into a Gmail account, various pieces of information, such as identifiers for the computer, logged-in user,
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              b. Between September 30, 2020, and October 25, 2020, imajew41@gmail.com and

                 www.farcry3@gmail.com each had a login IP address 207.174.148.230. The

                 LACS online classroom session that occurred on October 14, 2020 as referenced

                 in Paragraph 19, also had unidentified meeting logins from IP address

                 207.174.148.230 that were assessed to be the same individual as “alex jones.”

              c. Based on the use of the same IP address and the fact that the two e-mail accounts

                 were linked by cookies, I believe that the same individual operates both

                 imajew41@gmail.com and www.farcry3@gmail.com.

        46.      More significantly, both imajew41@gmail.com and www.farcry3@gmail.com

contained identifying information for an individual named Brian Adams.

              a. Imajew41@gmail.com was used to register for an online account at

                 playerauctions.com and received three purchase confirmation notifications

                 addressed to Brian Adams.

              b. Both accounts listed March 9, 2000, as the user’s date of birth. Kentucky driver’s

                 license records for an individual named “Brian Adams” also had a date of birth of

                 March 9, 2000.

              c. On or about September 18, 2020, imajew41@gmail.com received a notification

                 from Cash App confirming a payment had been sent by Brian Adams.




and browser, are sent to Google. In turn, Google generates various unique cookies for the user based on the
information received. If the user logs into another Gmail account using the same browser without explicitly deleting
these cookies, some of the same cookies will be sent back to Google. Google logs which accounts are accessed
using each unique cookie, thereby linking the accounts together as being accessed from the same browser.

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            d. On or about November 7, 2020, imajew41@gmail.com received three

                confirmation e-mails from playerauctions.com addressed to Brian Adams. 2

            e. Www.farcry3@gmail.com contained two video recordings that featured “selfie”

                videos of the user. The person in the “selfie” videos strongly resembled the

                individual pictured in the Kentucky driver’s license photograph of Brian Adams.




            f. The        www.farcry3@gmail.com             listed      the      e-mail       addresses

                adams.brian@ridgemont.k12.oh.us; brian.adams@stu.paintsville.kyscools.us; and

                jeffbadams760@gmail.com as contacts.

            g. On or about October 30, 2020, www.farcry3@gmail.com received an e-mail from

                support@denpasoft.com addressed to brian.adams regarding a password reset.




2
  The imajew41@gmail.com also received at least two e-mails addressed to “Tyrone.” Based on review of the
www.farcry3@gmail.com account, the account holder appears to have been familiar with a character from the
comedy series The Chappelle Show known as Tyrone Biggums. I believe he may have used that first name to
register for some accounts as a reference to that character.

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 h. On or about January 15, 2021, www.farcry3@gmail.com sent an e-mail to

    support@chime.com with personal identifiable information. The e-mail included

    a screenshot of a Kentucky ID for Brian Stacey Adams.




 i. The www.farcry3@gmail.com account contained a video dated April 14, 2021, in

    which the user plays the computer game “Clash of Clans.” As depicted in the

    screen capture below, the user is visible in the video and physically resembles the

    picture of Brian Adams from the Kentucky ID. I have reviewed the video and the

    user’s voice is similar to the voice heard in the LACS zoom bombing video.




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               j.   Based on the above information, I believe the individual known as “Alex Jones”

                    is in fact Brian Stacey Adams of Paintsville, Kentucky.

               d. Identification of Registration Address for Adams’s IP Address

         47.        Through open source research, the FBI identified Foothills Communication as the

internet services provider for Adams’s IP address, 207.174.148.230. On February 9, 2021, the

FBI served a grand jury subpoena on Foothills Communication for information related to IP

address 207.174.148.230. Returns from Foothill Communications indicated that the subscriber

associated with the IP address was Jeff Adams, 1010 Pineview Lane Lot 4, Paintsville, Kentucky

41240.

         48.        On or about September 20, 2021, the FBI served an additional grand jury

subpoena on Foothills Communication regarding the address 1010 Pineview Lane Lot 4.
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Returns provided by Foothills Communication continued to indicate that the subscriber

associated with the address was Jeff Adams.

        49.      This address matches the address identified in search warrant returns associated

with the www.farcry3@gmail.com e-mail address. For instance, on or about September 16,

2020,         www.farcry3@gmail.com               received        a      confirmation          e-mail        from

bankmobile@bankmobilewebemail.com addressed to Brian Adams, confirming an address

change to 1010 pineview LN LOT 4, Paintsville, KY 41240.

        50.      Additionally, on or about November 8, 2020, www.farcry3@gmail.com sent an e-

mail to kyc@bitskins.com providing a full name of Brian Adams and a current address of 1010

Pineview Ln Lot 4.

        51.      Based on open source research, Jeffrey B. Adams is an approximately 45-year old

white male who lives in Paintsville, Kentucky. I believe Jeffrey B. Adams is likely the father of

Brian Stacy Adams, and that Brian Adams lives with his father and uses his internet service. 3

        52.      On or about October 26, 2021, law enforcement officers conducted surveillance in

the vicinity of 1010 Pineview Lane, Lot 4, Paintsville, Kentucky 41240. Officers confirmed a

mobile/trailer home was stationed at the address. A black Chevrolet Cruze bearing Kentucky

license plate number 550-YSP was observed parked in front of the residence. Database searches

indicated the vehicle was registered to Jeffrey B. Adams.




3
  The Kentucky Driver’s License for Jeffrey B. Adams lists his address as 1012 Pineview, not 1010 Pineview. All
the known utilities registered to Jeffrey B. Adams, including internet and cell service, are registered to 1010
Pineview. The Driver’s License card is the only reference to 1012 Pineview I am aware of. Based on the multiple
registrations and references to 1010 Pineview, I believe 1012 Pineview may be an outdated address or may refer to a
central building location in the subject’s residential division.

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       53.     Additionally, law enforcement officers approached the residence and made direct

contact with the residents. Two male residents identified themselves as Brian Adams and Jeffrey

Adams.    The two residents’ physical appearances matched those depicted in investigative

photographs associated with Brian Adams and Jeffrey Adams.

   IV. Execution of Search Warrant at 1010 Pineview Lane, Lot 4, Paintsville, KY

       54.     On November 2, 2021, the FBI obtained a search warrant for Adams’s residence

at 1010 Pineview Lane, Lot 4, Paintsville, KY 41240 (the “Premises”). See 7:21-MJ-23-EBA

(E.D. Ky. Nov. 2, 2021). The warrant authorized the FBI to search the Premises and seize

relevant electronic devices.

       55.     On November 3, 2021, the FBI executed the aforementioned search warrant on

the Premises. During the search, FBI agents interviewed Adams after he received Miranda

warnings. Adams told FBI agents that in or around October of 2020, he participated in a Zoom

bombing of a school’s virtual classroom. He believed the school was located in New Orleans,

Louisiana. Adams also told agents that he recalled using racial slurs and making threats against

the students in the virtual classroom. Adams stated he then uploaded a video recording of the

Zoom bombing incident to his YouTube account, which he confirmed was named Arch angel

gaming. Based on all the evidence collected to date and Adams’s statement to the FBI, I believe

Adams was the individual who committed the Zoom bombing incident against the Laureate

Academy Charter School in New Orleans, Louisiana.

       56.     Adams stated that he used his personal desktop computer to commit the Zoom

bombing. Although the precise desktop case he used had since changed, Adams stated that the

hard drive originally in his computer at the time of the Zoom bombing had been migrated into



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his new desktop. Agents seized Adams’s desktop computer, the “Target Computer,” as part of

executing the warrant inside the Premises.

         57.      Additionally, Adams told agents that he also used his cellular phone to view

content on YouTube. Based on prior review of search warrant returns from Google, Adams had

viewed YouTube videos of the Zoom bombing he committed, as well as multiple other videos

that depicted individuals using racial slurs, such as the n-word. Agents seized the Target

Cellphone, as part of executing the warrant.

         58.      In addition to confessing to the Zoom bombing at Laureate Academy Charter

School, Adams also told agents that he had obtained over $1000 worth of computer equipment

by using Best Buy rewards points he had stolen from an unknown victim’s e-mail account.

Adams stated that he had obtained login credentials to a Yahoo e-mail account from a forum on

the social media platform Discord. He then logged into the e-mail account and identified

correspondence including the victim’s Best Buy rewards points number. Adams stated that at

least some of the components inside the Target Computer seized by agents during the search

warrant had been purchased using the stolen points. 4

         59.      On or about November 8, 2021, the FBI contacted Best Buy regarding the

potential fraud. Best Buy indicated that in late August, 2021, shipments of approximately $1230

dollars in computer equipment had been purchased by an individual named “jack jones.” That



4
  During the interview, Adams stated that approximately one year prior, Adams reinstalled the Windows operating
system on the computer he utilized during the Zoom bombing incident, which erased the contents of the hard drive.
That hard drive was made a part of the Target Computer along with computer parts obtained through the stolen Best
Buy rewards points. Assuming that data at the time of the Zoom bombing incident may have been deleted, I believe
it may be possibly to forensically restore some of the data erased as part of the reinstallation. Additionally, I believe
it is likely that other data relevant to the Zoom bombing incident may have been migrated to the hard drive after the
Windows reinstallation.

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individual provided a shipping address of 1010 Pineview Lane, Lot 4, Paintsville, KY 41240,

which is the address of the Premises. The user named “jack jones” used Best Buy rewards points

belonging to a Best Buy customer with the initials M.V., a Pennsylvania resident, to make the

purchase. The FBI interviewed M.V., who confirmed that Best Buy had informed her of a

potential fraudulent use of her Best Buy points. Based on Adams’s statement, M.V.’s statement,

and the records provided by Best Buy, I believe “Jack Jones” was in fact Adams, and that Adams

used M.V.’s Best Buy rewards points to purchase a substantial portion of the components inside

the computer that was seized from his residence. 5

        60.       Based on the above, there is probable cause to search Adams’s computer and

cell phone, both of which were seized during the execution of a lawful search warrant, for

evidence of the Zoom bombing intrusion and the purchase of computer components with stolen

Best Buy rewards points.

        61.     The Devices are currently in the lawful possession of the FBI. They came into the

FBI’s possession in the following way: the Devices were seized by the FBI during execution of

the aforementioned search warrant at the Premises, and were subsequently transported to the

FBI’s New Orleans Field Division. Additionally, during the interview, Adams provided the FBI

with written and verbal consent to search the Devices. Therefore, while the FBI might already

have all necessary authority to examine the Devices, I seek this additional warrant out of an

abundance of caution to be certain that an examination of the Device will comply with the Fourth

Amendment and other applicable laws.



5
 When interviewed, Adams could not remember the name of the individual whose Best Buy points he had used, but
believed it may have been “Corey.” Given Adams’s uncertainty and the consistency of the remaining evidence, I
believe M.V. was Adams’s true victim.

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       62.      The Devices are currently in storage at the FBI’s New Orleans Field Division,

2901 Leon C. Simon Dr., New Orleans, Louisiana. In my training and experience, I know that

the Devices have been stored in a manner in which their contents are, to the extent material to

this investigation, in substantially the same state as they were when the Device first came into

the possession of the FBI.

                                      TECHNICAL TERMS

       63.      Based on my training and experience, I use the following technical terms to

convey the following meanings:

             a. Wireless telephone:       A wireless telephone (or mobile telephone, or cellular

                telephone) is a handheld wireless device used for voice and data communication

                through radio signals.      These telephones send signals through networks of

                transmitter/receivers, enabling communication with other wireless telephones or

                traditional “land line” telephones. A wireless telephone usually contains a “call

                log,” which records the telephone number, date, and time of calls made to and

                from the phone.       In addition to enabling voice communications, wireless

                telephones offer a broad range of capabilities. These capabilities include: storing

                names and phone numbers in electronic “address books;” sending, receiving, and

                storing text messages and e-mail; taking, sending, receiving, and storing still

                photographs and moving video; storing and playing back audio files; storing

                dates, appointments, and other information on personal calendars; and accessing

                and downloading information from the Internet. Wireless telephones may also

                include global positioning system (“GPS”) technology for determining the

                location of the device.

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 b. Digital camera: A digital camera is a camera that records pictures as digital

    picture files, rather than by using photographic film. Digital cameras use a

    variety of fixed and removable storage media to store their recorded images.

    Images can usually be retrieved by connecting the camera to a computer or by

    connecting the removable storage medium to a separate reader.         Removable

    storage media include various types of flash memory cards or miniature hard

    drives. Most digital cameras also include a screen for viewing the stored images.

    This storage media can contain any digital data, including data unrelated to

    photographs or videos.

 c. Portable media player: A portable media player (or “MP3 Player” or iPod) is a

    handheld digital storage device designed primarily to store and play audio, video,

    or photographic files. However, a portable media player can also store other

    digital data. Some portable media players can use removable storage media.

    Removable storage media include various types of flash memory cards or

    miniature hard drives. This removable storage media can also store any digital

    data. Depending on the model, a portable media player may have the ability to

    store very large amounts of electronic data and may offer additional features such

    as a calendar, contact list, clock, or games.

 d. GPS: A GPS navigation device uses the Global Positioning System to display its

    current location. It often contains records the locations where it has been. Some

    GPS navigation devices can give a user driving or walking directions to another

    location. These devices can contain records of the addresses or locations involved

    in such navigation.      The Global Positioning System (generally abbreviated

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    “GPS”) consists of 24 NAVSTAR satellites orbiting the Earth. Each satellite

    contains an extremely accurate clock. Each satellite repeatedly transmits by radio

    a mathematical representation of the current time, combined with a special

    sequence of numbers. These signals are sent by radio, using specifications that

    are publicly available. A GPS antenna on Earth can receive those signals. When

    a GPS antenna receives signals from at least four satellites, a computer connected

    to that antenna can mathematically calculate the antenna’s latitude, longitude, and

    sometimes altitude with a high level of precision.

 e. PDA: A personal digital assistant, or PDA, is a handheld electronic device used

    for storing data (such as names, addresses, appointments or notes) and utilizing

    computer programs.      Some PDAs also function as wireless communication

    devices and are used to access the Internet and send and receive e-mail. PDAs

    usually include a memory card or other removable storage media for storing data

    and a keyboard and/or touch screen for entering data. Removable storage media

    include various types of flash memory cards or miniature hard drives. This

    removable storage media can store any digital data. Most PDAs run computer

    software, giving them many of the same capabilities as personal computers. For

    example, PDA users can work with word-processing documents, spreadsheets,

    and presentations. PDAs may also include global positioning system (“GPS”)

    technology for determining the location of the device.

 f. Tablet: A tablet is a mobile computer, typically larger than a phone yet smaller

    than a notebook, that is primarily operated by touching the screen.        Tablets

    function as wireless communication devices and can be used to access the Internet

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    through cellular networks, 802.11 “wi-fi” networks, or otherwise.           Tablets

    typically contain programs called apps, which, like programs on a personal

    computer, perform different functions and save data associated with those

    functions.   Apps can, for example, permit accessing the Web, sending and

    receiving e-mail, and participating in Internet social networks.

 g. Pager: A pager is a handheld wireless electronic device used to contact an

    individual through an alert, or a numeric or text message sent over a

    telecommunications network. Some pagers enable the user to send, as well as

    receive, text messages.

 h. IP Address: An Internet Protocol address (or simply “IP address”) is a unique

    numeric address used by computers on the Internet. An IP address is a series of

    four numbers, each in the range 0-255, separated by periods (e.g., 121.56.97.178).

    Every computer attached to the Internet computer must be assigned an IP address

    so that Internet traffic sent from and directed to that computer may be directed

    properly from its source to its destination. Most Internet service providers control

    a range of IP addresses. Some computers have static—that is, long-term—IP

    addresses, while other computers have dynamic—that is, frequently changed—IP

    addresses.

 i. Internet: The Internet is a global network of computers and other electronic

    devices that communicate with each other. Due to the structure of the Internet,

    connections between devices on the Internet often cross state and international

    borders, even when the devices communicating with each other are in the same

    state.

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       64.      Based on my training, experience, and research, I know that the Target Cellphone

has capabilities that allow it to serve as a wireless telephone, digital camera, portable media

player, GPS navigation device, and PDA. In my training and experience, examining data stored

on devices of this type can uncover, among other things, evidence that reveals or suggests who

possessed or used the device.

                   ELECTRONIC STORAGE AND FORENSIC ANALYSIS

       65.      Based on my knowledge, training, and experience, I know that electronic devices

can store information for long periods of time. Similarly, things that have been viewed via the

Internet are typically stored for some period of time on the device. This information can

sometimes be recovered with forensics tools.

       66.      There is probable cause to believe that things that were once stored on the Target

Computer may still be stored there, for at least the following reasons:

             a. Based on my knowledge, training, and experience, I know that computer files or

                remnants of such files can be recovered months or even years after they have been

                downloaded onto a storage medium, deleted, or viewed via the Internet.

                Electronic files downloaded to a storage medium can be stored for years at little

                or no cost. Even when files have been deleted, they can be recovered months or

                years later using forensic tools. This is so because when a person “deletes” a file

                on a computer, the data contained in the file does not actually disappear; rather,

                that data remains on the storage medium until it is overwritten by new data.

             b. Therefore, deleted files, or remnants of deleted files, may reside in free space or

                slack space—that is, in space on the storage medium that is not currently being

                used by an active file—for long periods of time before they are overwritten. In

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                addition, a computer’s operating system may also keep a record of deleted data in

                a “swap” or “recovery” file.

             c. Wholly apart from user-generated files, computer storage media—in particular,

                computers’ internal hard drives—contain electronic evidence of how a computer

                has been used, what it has been used for, and who has used it. To give a few

                examples, this forensic evidence can take the form of operating system

                configurations, artifacts from operating system or application operation, file

                system data structures, and virtual memory “swap” or paging files. Computer

                users typically do not erase or delete this evidence, because special software is

                typically required for that task. However, it is technically possible to delete this

                information.

             d. Similarly, files that have been viewed via the Internet are sometimes

                automatically downloaded into a temporary Internet directory or “cache.”

       67.      Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct

evidence of the crimes described on the warrant, but also forensic evidence that establishes how

the Devices were used, the purpose of their use, who used them, and when. There is probable

cause to believe that this forensic electronic evidence might be on the Devices because:

             a. Data on the storage medium can provide evidence of a file that was once on the

                storage medium but has since been deleted or edited, or of a deleted portion of a

                file (such as a paragraph that has been deleted from a word processing file).

                Virtual memory paging systems can leave traces of information on the storage

                medium that show what tasks and processes were recently active. Web browsers,

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    e-mail programs, and chat programs store configuration information on the

    storage medium that can reveal information such as online nicknames and

    passwords. Operating systems can record additional information, such as the

    attachment of peripherals, the attachment of USB flash storage devices or other

    external storage media, and the times the computer was in use. Computer file

    systems can record information about the dates files were created and the

    sequence in which they were created.

 b. Forensic evidence on a device can also indicate who has used or controlled the

    device. This “user attribution” evidence is analogous to the search for “indicia of

    occupancy” while executing a search warrant at a residence.

 c. A person with appropriate familiarity with how an electronic device works may,

    after examining this forensic evidence in its proper context, be able to draw

    conclusions about how electronic devices were used, the purpose of their use, who

    used them, and when.

 d. The process of identifying the exact electronically stored information on a storage

    medium that is necessary to draw an accurate conclusion is a dynamic process.

    Electronic evidence is not always data that can be merely reviewed by a review

    team and passed along to investigators. Whether data stored on a computer is

    evidence may depend on other information stored on the computer and the

    application of knowledge about how a computer behaves. Therefore, contextual

    information necessary to understand other evidence also falls within the scope of

    the warrant.



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             e. Further, in finding evidence of how a device was used, the purpose of its use, who

                  used it, and when, sometimes it is necessary to establish that a particular thing is

                  not present on a storage medium.

             f.   I know that when an individual uses an electronic device to obtain unauthorized

                  access to a victim electronic device or account over the Internet, the individual’s

                  electronic device will generally serve both as an instrumentality for committing

                  the crime, and also as a storage medium for evidence of the crime. The electronic

                  device is an instrumentality of the crime because it is used as a means of

                  committing the criminal offense. The electronic device is also likely to be a

                  storage medium for evidence of crime. From my training and experience, I

                  believe that an electronic device used to commit a crime of this type may contain:

                  data that is evidence of how the electronic device was used; data that was sent or

                  received; and other records that indicate the nature of the offense.

       68.        Nature of examination.      Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the device consistent

with the warrant. The examination may require authorities to employ techniques, including but

not limited to computer-assisted scans of the entire medium, that might expose many parts of the

device to human inspection in order to determine whether it is evidence described by the warrant.

       69.        Manner of execution. Because this warrant seeks only permission to examine a

device already in law enforcement’s possession, the execution of this warrant does not involve

the physical intrusion onto a premises. Consequently, I submit there is reasonable cause for the

Court to authorize execution of the warrant at any time in the day or night.



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                                        CONCLUSION

       70.     I submit that this affidavit supports probable cause for a search warrant

authorizing the examination of the Device described in Attachment A to seek the items described

in Attachment B.

                                                     Respectfully submitted,

                                                     /s/James F. McKee
                                                     James F. McKee
                                                     Special Agent
                                                     Federal Bureau of Investigation


        Pursuant to Federal Rules of Criminal Procedure 4.1 and 41(d)(3), the undersigned
judicial officer has on this date considered the information communicated by reliable electronic
means in considering whether a complaint, warrant, or summons will issue. In doing so, I have
placed the affiant under oath, and the affiant has confirmed that the signatures on the complaint,
warrant, or summons and affidavit are those of the affiant, that the document received by me is a
correct and complete copy of the document submitted by the affiant, and that the information
contained in the complaint, warrant, or summons and affidavit is true and correct to the best of
the affiant’s knowledge.

Subscribed and sworn to before me on
     18th day of November, 2021,
this ____
New Orleans, Louisiana.

_________________________________________
HONORABLE MICHAEL B. NORTH
UNITED STATES MAGISTRATE JUDGE




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                                      ATTACHMENT A


The property to be searched is:

           a. One NVIDIA desktop computer, tag number RC942KKN11111201194 (the

               “Target Computer”); and

           b. One Samsung Galaxy S8+ cellular phone, IMEI number 357725083613316 (the

           “Target Cellphone”).

       I refer to the Target Computer and the Target Cellphone collectively as the “Devices.”

The Devices are currently located at the Federal Bureau of Investigation, 2901 Leon C. Simon

Dr., New Orleans, Louisiana.

       This warrant authorizes the forensic examination of the Devices for the purpose of

identifying the electronically stored information described in Attachment B.




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                                       ATTACHMENT B

       1.      All records on the Device described in Attachment A that relate to violations of

18 U.S.C.§ 875(c) (Making Interstate Communications with a Threat to Injure), and 18 U.S.C.

§ 1343 (wire fraud) and involve Brian Stacey Adams since October 1, 2020, including:

            a. The occupation and/or ownership of 1010 Pineview Lane Lot 4, Paintsville, KY

               41240;

            b. IP address 207.174.148.230;

            c. MAC address 1C1B0D66E7F1;

            d. The Laureate Academy Charter School;

            e. Zoom bombing, including but not limited to information related to recording and

               posting Zoom bombing videos;

            f. Zoom meeting log ons;

            g. Racist imagery and terminology, including but not limited to the use of the N-

               word, lynchings, and swastikas;

            h. The YouTube channel “Arch angel gaming”;

            i. The e-mail accounts www.farcry3@gmail.com and imajew41@gmail.com;

            j. The identity of the person(s) who accessed the LACS Zoom call on or about

               October 14, 2020, including records that help reveal the whereabouts of such

               person(s);

            k. Any communication with co-conspirators or victims related to the LACS

               Zoombombing incident;

            l. Orders of computers or computer components from Best Buy;

            m. Discord forums involving discussion of email or other account login credentials;
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            n. Best Buy rewards points; and

            o. Email and other accounts associated with M.V.;

       2.      Evidence of user attribution showing who used or owned the Devices at the time

the things described in this warrant were created, edited, or deleted, such as logs, phonebooks,

saved usernames and passwords, documents, and browsing history;

       3.      Records evidencing the use of the Internet Protocol address 207.174.148.230 to

communicate with servers operated by Zoom, including:

            a. records of Internet Protocol addresses used;

            b. records of Internet activity, including firewall logs, caches, browser history and

               cookies, “bookmarked” or “favorite” web pages, search terms that the user

               entered into any Internet search engine, and records of user-typed web addresses.

       As used above, the terms “records” and “information” include all of the foregoing items

of evidence in whatever form and by whatever means they may have been created or stored,

including any form of computer or electronic storage (such as flash memory or other media that

can store data) and any photographic form.

       This warrant authorizes a review of electronic storage media and electronically stored

information seized or copied pursuant to this warrant in order to locate evidence, fruits, and

instrumentalities described in this warrant. The review of this electronic data may be conducted

by any government personnel assisting in the investigation, who may include, in addition to law

enforcement officers and agents, attorneys for the government, attorney support staff, and

technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the seized or

copied electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.

                                                 2
